                                                                                                     E-FILED
                                                                          Friday, 27 June, 2025 12:04:35 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

LYNX SERVICES, L.L.C.,

               Plaintiff,                           Civil Action No. 25-cv-1251

       v.
                                                    EQUITABLE RELIEF IS SOUGHT
STATE FARM MUTUAL AUTOMOBILE                        AND JURY TRIAL DEMANDED
INSURANCE COMPANY; SAFELITE GROUP,
INC.; AND SAFELITE SOLUTIONS L.L.C.

               Defendants.


            [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR
                        LEAVE TO FILE UNDER SEAL

       Plaintiff, LYNX Services, L.L.C., has filed with the Court a Motion for Leave to File Under

Seal (“Motion”). As set forth in the Motion, Plaintiff has lodged the following documents

(“Confidential Documents”) with this Court:

       1.      Plaintiff’s Original Complaint, with attached Exhibits A-E.

       2.      Plaintiff’s Emergency Application for a Temporary Restraining Order and Motion

               for a Preliminary Injunction and its Supporting Memorandum, with attached

               Exhibits A-N, including a Declaration from Lisa Langford with attached Exhibits

               A-1 to A-4.

       The Motion is made on the basis that the Confidential Documents contain trade secret,

highly confidential, and proprietary information. Plaintiff’s request is narrowly tailored to seal

only that material for which good cause to seal has been established.

       Accordingly, IT IS HEREBY ORDERED AS FOLLOWS:

       The following documents are hereby ordered sealed:

       1.      Plaintiff’s Original Complaint and attached Exhibits A-E
      2.    Plaintiff’s Emergency Application for a Temporary Restraining Order and Motion

            for a Preliminary Injunction and its Supporting Memorandum, with attached

            Exhibits A-N, including a Declaration from Lisa Langford with attached Exhibits

            A-1 to A-4.



      IT IS SO ORDERED.

Dated: ___________________________             ___________________________________
                                               HONORABLE JUDGE
                                               United States District Court for the Central
                                               District of Illinois
